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UNITED STATES OF AMERICA                         §                                        I)cPllt~·

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VS.                                              §        CRIMINAL NO. 4:12-CR-224-Y
                                                 §
JILVERTO VILLEGAS-CRUZ (2)                       §

             REPORT OF ACTION AND RECOMMENDATION ON PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

       This Report ofAction on Plea is submitted to the court pursuant to 28 U.S.C. § 636(b)(3).

This case has been referred by the United States district judge to the undersigned for the taking of

a guilty plea. The parties have consented to appear before a United States magistrate judge for

these purposes.

       The defendant appeared with counsel before the undersigned United States magistrate

judge who addressed the defendant personally in open court and informed the defendant of, and

determined that the defendant understood, the admonitions contained in Rule 11 of the Federal

Rules of Criminal Procedure.

       The defendant pled guilty to count one of the one-count indictment charging defendant

with the violation of21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(I) and (b)(1)(B)). The undersigned

magistrate judge finds the following:

       1. The defendant, upon advice of counsel, has consented orally and in writing to
       enter this guilty plea before a magistrate judge subject to final approval and
       sentencing by the presiding district judge;

       2. The defendant fully understands the nature of the charges and penalties;
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Report of Action and Recommendation On Plea
Before the United States Magistrate Judge
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       3. The defendant understands all constitutional and statutory rights and wishes to
       waive these rights, including the right to a trial by jury and the right to appear
       before a United States district judge;

       4. The defendant's plea is made freely and voluntarily;

       5. The defendant is competent to enter this plea of guilty;

       6. There is a factual basis for this plea; and

       7. The ends ofjustice are served by acceptance ofthe defendant's plea of guilty.

       Although I have conducted these proceedings, accepted the defendant's plea ofguilty, and

pronounced the defendant guilty in open court, upon the defendant's consent and the referral from

the United States district judge, that judge has the power to review my actions in this proceeding

and possesses final decision making authority. Thus, if the defendant has any objections to the

findings or any other action of the undersigned he should make those known to the United States

district judge within fourteen days of today.

       I recommend that defendant's plea ofguiltybe accepted and that the defendant be adjudged

guilty by the United States district judge and that sentence be i

       Signed June 12, 2013.




cw
